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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

Case No. 6 :) 2>26~;25(@

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Honorable J on McCalla
US DISTRICT COURT

